Mr. Wendell Patrick 8012 North Pinewood Pine Bluff, Arkansas 71603
Dear Mr. Patrick:
This is in response to your request, pursuant to A.C.A. §25-19-105(c)(3)(B), for an opinion on whether the decision of the Arkansas Department of Human Services (the "Department") to open certain documents to public inspection and copying is consistent with the Arkansas Freedom of Information Act, A.C.A. §§ 25-19-101 to -107 (Repl. 1992 and Supp. 1995) (the "Act"). Correspondence furnished to this office by other individuals requesting similar opinions indicates that a citizen has requested copies of "performance evaluation appraisal forms" relating to you and three other Department employees, and that the Department has determined to make those records available.
Your request does not state whether anything in the records at issue formed a basis for a decision to suspend or terminate your employment with the Department. Nothing in your request suggests this to be the case, however, and, for purposes of this opinion, I assume that there has been no such suspension or termination.
I also assume for purposes of this opinion that the title of the records at issue accurately describes their contents (i.e., that the "performance evaluation appraisal forms" are "employee evaluation or job performance records" within the meaning of that phrase as used in A.C.A. §25-19-105(c)(1)). "Employee evaluation or job performance" records are those that "detail the performance or lack of performance of an employee within the scope of his employment regarding a specific incident or incidents." See, e.g., Ops. Att'y Gen. 95-171, 94-391. Here, the form's title certainly indicates that it is an employee evaluation or job performance record, and nothing in or included with your request suggests otherwise.
Based upon the foregoing assumptions, it is my opinion that the Department's determination to release "performance evaluation appraisal forms" relating to you is not consistent with the Act. Employee evaluation or job performance records that do not form a basis for a decision to suspend or terminate the employee to which they relate may not be released for public inspection. A.C.A. § 25-19-105(c)(1).
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General J. Madison Barker.
Sincerely,
WINSTON BRYANT Attorney General
WB:JMB/cyh